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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                  )
DONALD J. TRUMP FOR PRESIDENT,                    )
INC., et al.,                                     )
                                                  )
                        Plaintiffs,               )
                                                  )
         v.                                       ) Civil Action No. 2:20-cv-00966-NR
                                                  )
KATHY BOOCKVAR, in her capacity as                ) Judge J. Nicholas Ranjan
Secretary of the Commonwealth of                  )
Pennsylvania, et al.,                             )
                                                  )
                        Defendants.               )
                                                  )

                                  [PROPOSED] ORDER [NO. 2]

         Upon consideration of Defendant Secretary of the Commonwealth Kathy Boockvar’s

Motion to Dismiss, and for the reasons set forth in the accompanying Memorandum of Law, said

Motion is GRANTED.

         It is hereby ORDERED as follows:

         (a) Counts III, V, VI and VII of the Complaint are dismissed;

         (b) The Court shall abstain from ruling on the merits of Plaintiffs’ remaining claims

pending an adjudication from the state court on the pertinent matters of Pennsylvania law

outlined herein;

         (c) This matter is hereby stayed until further Order of this Court.



Dated:                                           By:
                                                       Honorable J. Nicholas Ranjan
                                                       United States District Judge




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